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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

David Kraybill
Plaintiff
Vv.

Case No. 21-cv-1235-JPG

David Mains
Donna Daniel
Affordable Inmate Services, LLC.

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MOTION TO AMEND GOMPLAINT AND TO SHOW CAUSE

Now comes the Plaintiff, David Kraybill, pro se, and moves this
Court to amend the original filing, and to show cause for suit. David
Kraybill, being both a citizen and resident of the State of Illinios,
U.S.A., and a registered voter in Cook County, Illinois in 2012, now
files this complaint against the defendants, David Mains, Donna Daniel,
and Affordable Inmate Services, LLC., who are domiciled in the State of
Texas,U.S.A.. In regards to Judge J. Phil Gilbert's immediate scrutiny
to challenge (sans any response from the defendants) the compliance and
cause of the complaint in it's intial filing, make for in and of itself,
just cause to grant Plaintiff's motion to appoint counsel before ruling
on Order To Show Cause (so as not to put the cart before the horse so-
to-speak). Plaintiff has no means whatsoever to investigate, research,
or verify the actual residency of the defendants, and in fact may be
prohibited from doing so by facility rules. Insofar as the Plaintiff is
able to ascertain, all three of the Defendants are residents and citizens
of the State of Texas, U.S.A. Plaintiff also has very limited access to
a law library to further research accurately, and fairly, the legalities
of this case. Therfore, it is in the interest of justice for the court
to appoint counsel for the Plaintiff to resolve this suit with expediency.

Before Plaintiff can substantiate all of the various grounds of
jurisdictional purview, discovery must be made first [seperate motion
witt be submitted].

Plaintiff now sues for a minimum of seventy-five thousand dollars
in damages, costs, and punitive damages, etc. In addition Plaintiff seeks
possible class-action status, as admitted by the defendant's own mass~
mailing that there are other multiple individuals that are owed money and,

or personal property in conjunction with the plaintiff's own losses.

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On prima facie there is ample evidence to suggest losses exceeding
seventy-five thousand dollars accumulatively. Another avenue of pro-
ceedings now being sought by the Plaintiff is possible Racketeering,
Influence, and Corrupt Organization (R.1I.C.0.) statutes in relation
tocivil forfeitures. Plaintiff therefore intends to expand the complaint
after further discovery to also include various applicable Federal inter-
State commerece rules and laws in which this suit may qualify. Plaintiff
also claims to persue any other standings of 42 U.S.C. § 1983 statutes
which may apply in additition to any Federal Tort Claims Act, or other
applicable laws.

Plaintiff now seeks the Court's permission for interrogatories from
the Defendants establishing the due facts of their residency and citizen-

ships, to satiate any court requirement, among other causes. ~-
Plaintiff now changes his original stipulation from a bench trial

to a jury trial, as is his preferrence.

The Plaintiff asks the Court to grant ail the hereto requests so as

not to sheild the Defendants' duplicitous actions from the rule of law.
And in all faines to grant the Plaintiff's motion for appointment of

counsel to facilitate the rule of law.

The Plaintiff requests an in-person hearing in support of this motion.

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Signed ji\; Lif

Plaintiff

Date: November 23, 2021

